                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

GLENN BURTON, JR.,
      Plaintiff,                                Case No. 07-C-0303
      vs.
AMERICAN CYANAMID CO., et al.
      Defendants;
______________________________________________________________________________
RAVON OWENS
      Plaintiff,                                Case No. 07-C-0441
      vs.
AMERICAN CYANAMID CO., et al.
      Defendants;
______________________________________________________________________________
CESAR SIFUENTES,
      Plaintiff,                                Case No. 10-C-0075
      vs.
AMERICAN CYANAMID CO., et al.
      Defendants.



    DEFENDANT E. I. DUPONT DE NEMOURS COMPANY’S CIVIL L.R. 7(H)
  EXPEDITED NON-DISPOSITIVE MOTION TO EXCLUDE UNTIMELY EXPERT
                   OPINIONS OF DR. JOSEPH SWIDER




      Case 2:07-cv-00303-LA   Filed 11/15/17   Page 1 of 5   Document 943
       Pursuant to Federal Rules of Civil Procedure 26(a)(2)(D)(ii) and 37(c), E. I. du Pont de

Nemours and Company (“DuPont”) moves to exclude new expert opinions of Dr. Joseph Swider,

which Plaintiffs submitted months after the deadline for expert disclosures and the close of

discovery. Plaintiffs offer no justification for this delay which results in unfair prejudice to

DuPont.

       Under the operative scheduling order, initial expert disclosures and reports were due on

March 20, 2017, and rebuttal expert disclosures and reports were due on April 19, 2017. (See,

e.g., Burton Dkt. No. 506). Accordingly, on March 20, 2017, expert reports for both Dr.

Christopher Palenik (“Dr. Palenik”) and Dr. Douglas Lamb (“Dr. Lamb”) were submitted. These

reports included Dr. Palenik’s Energy Dispersive X-Ray Spectroscopy (“EDS”) analysis and Dr.

Lamb’s use of this analysis in formulating his opinions supporting DuPont’s motion for

summary judgment. (See, e.g., Burton Dkt. No. 615-F, Owens Dkt. No. 556-F, Sifuentes Dkt.

No. 502-F; Burton Dkt No. 568-1,2,3). Dr. Swider did not submit a rebuttal report on April 19,

2017. In fact, at his deposition on June 13, 2017, Dr. Swider acknowledged that he had briefly

reviewed Dr. Palenik’s work. (Ray Decl., Ex. 1 at 135:24-136:1). He was specifically asked if he

had formed any opinions about the accuracy of Dr. Palenik’s work.

               20 Q: So at this point as you sit here today, you haven't
               21 formed an opinion as to whether there were any errors
               22 in Dr. Palenik's report?
               23 A: I haven't looked at it. No, I don't.

(Id. at 139:15-23). Plaintiffs also could have timely filed a Daubert motion regarding Dr.

Palenik’s methodology and failed to do so.

       However, in further support of their motion to exclude the opinions and testimony of Dr.

Lamb, Plaintiffs submit a declaration from Dr. Swider. (Burton Dkt. No. 808; Owens Dkt. No.

744; Sifuentes Dkt. No. 677). More than six months after the deadline and without any

                                                  1

        Case 2:07-cv-00303-LA           Filed 11/15/17      Page 2 of 5      Document 943
justification for the delay, Dr. Swider now offers opinions criticizing Dr. Palenik’s EDS analysis.

(See id.) Dr. Swider had ample opportunity to offer timely rebuttal opinions before now but

failed to do so.

                                               ARGUMENT

        Evidence intended solely to contradict or rebut evidence on the same subject matter

identified by another party under Rule 26(a)(2)(B) or (C) is due within 30 days after the other

party’s disclosure. Fed. R. Civ. P. 26(a)(2)(D)(ii). “If a party fails to provide [this]

information…as required by Rule 26(a) or (e), the party is not allowed to use that information or

witness to supply evidence on a motion, at a hearing, or at trial, unless the failure was

substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). “The sanction of exclusion is

automatic and mandatory unless the sanctioned party can show that its violation of Rule 26(a)

was either justified or harmless.” Finwall v. City of Chicago, 239 F.R.D. 494, 498 (N.D. Ill.

2006)(citing Keach v. U.S. Trust Co., 419 F.3d 626, 639 (7th Cir. 2005)). 1

        Here, Plaintiffs’ untimely rebuttal opinions are neither justified nor harmless. The record

establishes that the information that Dr. Swider now criticizes was available to him prior to the

court ordered discovery deadlines. Under such circumstances, “the violation of Rule 26 is clearly

established” and a “district court act[s] well within its discretion” in excluding such evidence.

Salgado by Salgado v. General Motors Corp., 150 F.3d 735, 739, 742 (7th Cir. 1998). 2

Moreover, “[l]ate disclosure is not harmless within the meaning of Rule 37 simply because there

is time to reopen discovery.” Finwall, 239 F.R.D. at 501; see also Aon Risk Services, Inc. of


1
  Similarly, “[t]he ‘sham affidavit’ rule prohibits litigants from creating sham issues of fact with affidavits
that contradict their prior testimony.” Modern Fence, Inc. v. Qualipac Home Imp. Corp., 726 F. Supp. 2d
975, 983 (E.D. Wis. 2010)(citing Janky v. Lake County Convention and Visitors Bureau, 576 F.3d 356,
362 (7th Cir. 2009). Otherwise, the very purpose of summary judgment would be undermined. See id.
2
  Although ultimately “the client is affected by the delicts of counsel [, that] is not justification for
excusing counsel’s conduct or for mitigating the operation of the rule.” Salgado, 150 F.3d at 743.
                                                      2

         Case 2:07-cv-00303-LA             Filed 11/15/17        Page 3 of 5       Document 943
Illinois v. Shetzer, No. 01-7813, 2002 WL 1989466, at *6 (N.D. Ill. Aug. 27, 2002)(rejecting

argument that late disclosure was harmless because there was time to conduct deposition before

trial). “It is not the right of a party who chooses not to comply with…deadlines to be able to

restructure them at will.” Finwall, 239 F.R.D. at 501.

       DuPont has been unfairly prejudiced by Plaintiffs’ untimely submission. DuPont was

“entitled to assume that [the expert] reports were complete. [DuPont is] now unfairly prejudiced

by the [Plaintiffs’] reliance on new and untimely expert opinions ….” Baker v. Indian Prairie

Community Unit, School Dist. 204, No. 96C3927, 1999 WL 988799, at *3 (N.D. Ill. Oct. 27,

1999). This Court should not permit Plaintiffs “to ambush [DuPont] with new expert opinions

after the expert opinion disclosure deadline and after [DuPont] filed for summary judgment.” See

id. The deadline to submit expert rebuttal reports was April 19, 2017, over six months ago.

Plaintiffs waited until after the close of discovery to offer new expert opinions, and do not offer

any justification for their delay. See Ruddell v. Marathon Petroleum Company LP, No. 3:15-CV-

1253, 2017 WL 1479324, at *2-3 (S.D. Ill. Apr. 25, 2017)(excluding rebuttal report submitted

after close of discovery with no justification for delay). Introduction of new opinions at this

juncture leaves DuPont without an opportunity to depose Dr. Swider regarding these new

opinions and also deprives DuPont of the opportunity to file a Daubert motion related to these

opinions, as that deadline has passed.

       In sum, because Dr. Swider’s declaration constitutes an untimely expert rebuttal report

with no justification for its delay, it would be unfairly prejudicial to DuPont and should be

excluded. At a minimum, DuPont should at least be afforded the opportunity to depose Dr.

Swider regarding his new opinions, submit a sur-reply, and if appropriate, submit a Daubert

motion.



                                                  3

          Case 2:07-cv-00303-LA          Filed 11/15/17    Page 4 of 5      Document 943
Dated this 15th day of November, 2017     Respectfully submitted,

                                          /s/ Jontille D. Ray
                                          Steven R. Williams, Esq.
                                          Joy C. Fuhr, Esq.
                                          Christian E. Henneke, Esq.
                                          Jontille D. Ray, Esq.
                                          McGuireWoods LLP
                                          Gateway Plaza
                                          800 East Canal Street
                                          Richmond, VA 23219-3916
                                          (804) 775-1000 (phone)
                                          (804) 775-1061 (fax)
                                          srwilliams@mcguirewoods.com
                                          jfuhr@mcguirewoods.com
                                          chenneke@mcguirewoods.com
                                          jray@mcguirewoods.com

                                          Paul E. Benson, Esq. (1001457)
                                          Aaron H. Kastens, Esq. (1045209)
                                          Michael Best & Friedrich LLP
                                          100 East Wisconsin Avenue #3300
                                          Milwaukee, WI 53202-4108
                                          (414) 271-6560 (phone)
                                          (414) 277-0656 (fax)
                                          pebenson@michaelbest.com
                                          ahkastens@michaelbest.com
                                          Attorneys for Defendant E. I. du Pont de
                                          Nemours and Company




                                           4

      Case 2:07-cv-00303-LA       Filed 11/15/17   Page 5 of 5      Document 943
